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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 JEREMY TYLER CANNAFAX                     CIVIL ACTION

 v.                                        NO. 23-1274

 BUCKS COUNTY OF THE
 COMMONWEALTH OF
 PENNSYLVANIA

                                           ORDER

       AND NOW, this 24th day of April, 2023, upon consideration of pro se Plaintiff’s Motion

to Waive Service (ECF No. 8), filed on April 19, 2023, it is hereby ORDERED the Motion is

DENIED AS MOOT. The undersigned issued an Order, dated April 10, 2023, requesting the

Clerk of Court serve written waiver requests on the defendants, which was completed on April

10, 2023.

                                                   BY THE COURT:

                                                   /s/ MICHAEL M. BAYLSON
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                                                   MICHAEL M. BAYLSON, U.S.D.J.
